             Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 1 of 13 Page ID
                                              #:46169



                  1 QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
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                     Telephone: 213 443-3000
                   6 Facsimile :  213 443-3100

                   7' Attorneys for Mattel, Inc.
                   8
                   9                                    UNITED STATES DISTRICT COURT
                  10                                CENTRAL DISTRICT OF CALIFORNIA
                  11                                          EASTERN DIVISION
                  12 CARTER BRYANT, an individual,                     CASE NO. CV 04-9049 SGL {RNBx)
                  13                       Plaintiff,                  Consolidated with
                                                                       Case No. CV 04-09059
                  14              vs.                                  Case No . CV 05-02727
                  15 MATTEL, INC., a Delaware                           PUBLIC REDACTED]
                            corporation,                                CORRECTED..] DECLARATION OF
                  16                                                     ICHAEL T. ELLER IN SUPPORT
                                           Defendant.                  OF MATTEL, INC.'S
                  17                                                   CONSOLIDATED OPPOSITION TO
                                                                       DEFENDANTS' MOTIONS FOR
                  18 AND CONSOLIDATED ACTIONS                          PARTIAL SUMMARY JUDGMENT

                  19
                                                                       Date: April 22, 2008
                  2a                                                   Time: 10:00 a.m.
                                                                       Place: Courtroom 1
                  21
                                                                       Phase 1
                  22                                                   Discovery Cut-Off:        Jan. 28, 2008
                                                                       Pre-Trial Conference:     May 5, 2008
                  23                                                   Trial Date:               May 27, 2008

                  24
                  25
                  26
                  27
                  2$
a^zo9^2aaGZ^a,i                                                                        Case No. CV 04-9049 SGL (RNBx)
                       II                                            [CORRECTED] DECLARATION OF MICHAEL T. ZELLER
                   Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 2 of 13 Page ID
                                                    #:46170



                     1                      DECLARATION OF MICHAEL T. ZELLER
                     2                 I, Michael T. Zeller, declare as follows:
                     3                 1.    I am a member of the Bars of the States of California, New York
                     4 and Illinois , am admitted to practice before this Court and am a partner at Quinn
                     5 ^' Emanuel Urquhart Oliver & Hedges, LLP, attorneys for plaintiff and cross-
                     6 defendant Mattel, Inc. ("Mattel"). I make this declaration of personal, firsthand
                     7 knowledge and, if called and sworn as a witness, I could and would testify
                     8 competently thereto.
                     9                 2.    Attached hereto as Exhibit 1 are true and correct copies of
                    to excerpts from the Deposition Transcript of Carter Bryant, Vol. 1, dated November 4,
                    11    2004.
                    12^               3.     Attached hereto as Exhibit 2 are true and correct copies of
                    13    excerpts from the Deposition Transcript of Carter Bryant, Vol. 2, dated November 5,
                   14 2004.
                   15                 4.     Attached hereto as Exhibit 3 are true and correct copies of
                   16 excerpts from the Deposition Transcript of Carter Bryant, Vol. 3, dated November 8,
                   17 12004.

                   18                 5.     Attached hereto as Exhibit 4 are true and correct copies of

                   I9     excerpts from the Deposition Transcript of Carter Bryant, Vol. 4, dated January 23,

                   20     2008.
                   21                 6.     Attached hereto as Exhibit 5 are true and correct copies of
                   22     excerpts from the Deposition Transcript of Carter Bryant, Vol. 5, dated January 24,

                   23     2oas.
                   24                 7.     Attached hereto as Exhibit 6 are true and correct copies of
                   25     excerpts from the Deposition Transcript of Carter Bryant in Gunther-Wahl
                   26 Productions, Inc. v. Mattel, Inc., dated September 9, 2003.
                   27

                   281
^n^o9^aa.^^zia.i          __                                        ..2_             Case No. CV 04-9049 SGL (RNBx)
                                                                    CORRECTED] DECLARATION OE MICHAEL T. ZELLER
                     Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 3 of 13 Page ID
                                                      #:46171



                          1                    8.    Attached as Exhibit 7 is a true and correct copy of the Employee
                       2 Confidential Information and Inventions Agreement between Mattel and Robert
                       3 Hudnut.
                       4                       9.    Attached as Exhibit 8 is a true and correct copy of the Side Letter
                       5 To the Mattel Employee Confidential Information And Inventions Agreement
                       6 Between Rick De Herder And Rob Hudnut.
                       7                       10.   Attached as Exhibit 9 is a true and correct copy of Mattel's
                       8 Conflict of Interest Questionnaire signed by Robert Hudnut.
                       9                       11.   Attached as Exhibit 10 are true and correct copies of excerpts
                      la from the Deposition Transcript of Robert Hudnut, Vol. 1, dated July 13, 2007.
                      11                       12.   Attached as Exhibit 11 is a true and correct copy of Mattel's 1998
                      12 ^' Offer Letter to Bryant.
                      13                       13.   Attached as Exhibit 12 is a true and correct copy of excerpts
                      14 from the Deposition Transcript of Amy Myers, dated February 22, 2008.
                      15                       I4.   Attached as Exhibit 13 is a true and correct copy of the e-mail
                      16 exchange between Carter Bryant and Veronica and Peter Marlow.
                     17                        15.   Attached as Exhibit 14 is a true and correct copy of excerpts
                     18 from the Deposition Transcript of Teresa Newcomb, dated January 23, 2008.
                     19                       16.    Attached as Exhibit 15 is a true and correct copy of excerpts
                     20 from the Deposition Transcript of Christina Tomiyama, Vol. 1, dated February 27,
                     21           2o0s.
                     22                       17.    Attached as Exhibit 16 is a true and correct copy of excerpts
                     23           from the Deposition Transcript of Rene Pasko, dated June.13, 2007.
                     241                      18.    Attached as Exhibit 17 is a true and correct copy of excerpts
                     25 from the Deposition Transcript of Elise Cloonan, Vol 1, dated December 14, 2007.
                     26                       19.    Attached as Exhibit 18 is a true and correct copy of excerpts
                     27 from the Deposition Transcript of Margaret Leahy, Vol. 1, dated December 12,
                     2g 2007.                                                                        `

u72o9.^3^I^G^i-4.]            I                                            __               Case No. CV 04-9049 SGL (RNB^)
                                                                          [CORRECTED] DECLARATION OF MICHAEL T. ZELLER
                        Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 4 of 13 Page ID
                                                         #:46172



                             1             20.   Attached as Exhibit 19 is a true and correct copy of excerpts
                    -     2 from the Deposition Transcript of Ann Driskill, dated December 15, 2004.
                          3                21.   Attached as Exhibit 20 is a true and correct copy of excerpts
                          4 from the Deposition Transcript of .lanet Bryant, Volume 1, dated September 25,
                          5 2007.
                          6                22.   Attached as Exhibit 21 is a true and correct copy of excerpts
                          7 from the Deposition Transcript of Veronica Marlow, Vol . 1, dated December 28,
                          S 2007.
                          9                23.   Attached as Exhibit 22 is a true and correct copy of excerpts
                         10 from the Deposition Transcript of Lisa Tonnu, Vol. 2, dated September 24, 2007.
                         11                24.   Attached as Exhibit 23 is a true and correct copy of MGA's
                         12 Supplemental Responses to Mattel's Revised Third Set of Interrogatories.
                         13                25.   Attached as Exhibit 24 is a true and correct copy of the drawing
                         14 and photograph Bates-numbered BRYANT 00273, marked as Exhibit 717 in this
                         15 action.
                         16                26.   Attached as Exhibit 25 is a true and correct copy of the drawing
                         17 and photograph Bates-numbered BRYANT 00228, marked as Exhibit 719 in this
                         18 action.
                        19                 27.   Attached as Exhibit 26 is a true and correct copy of the drawing
                        20 and photograph Bates-numbered BRYANT 00221, marked as Exhibit 722 in this
                        21       action.
                        22                 28.   Attached as Exhibit 27 is a true and correct copy of the drawing
                        23 and photograph Bates-numbered BRYANT 00297, marked as Exhibit 725 in this
                        24 action.
                        25                 29.   Attached as Exhibit 28 is a true and correct copy of the sculptural
                        26 drawing Bates numbered BRYANT 00278.
                        27
                        28
07^o9,^a-^^zza. i                                                       _4_              Case No. Cy 0^-90=I9 sGL {RNI3^)
                                                                       [CORRECTED] DECLARATION OF MICHAEL T. ZELLEI2
                     Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 5 of 13 Page ID
                                                      #:46173



                       1                 30.   Attached as Exhibit 29 is a true-and correct copy of exceprts
                       2 from Carter Bryant's Second Supplemental Responses to Mattel, Inc.'s Revised
                       3 Fourth Set of Interrogatories.
                       4                 31.   Attached as Exhibit 30 is a true and correct copy of the
                       5 Agreement between Carter Bryant and MGA {"Bryant -MGA Agreement"}, Bates-
                       6 , numbered BRYANT 00794-799.
                       7                 32.   Attached as Exhibit 31 is a true and correct copy of Mattel's
                       S Employee Confidential Information and Inventions Agreement (" Inventions
                       9 Agreement"}, Bates-numbered M 0001596.
                      10                 33.   Attached as Exhibit 32 is a true and correct copy of Mattel's
                      11 ^ Conflict of Interest Questionnaire, Bates-numbered M0001621.
                      12                 34.   Attached as Exhibit 33 is a true and correct copy of Mattel's
                      13 Employee Confidential Information and Inventions Agreement (" 1995 Inventions
                      14 ^ Agreement")
                      15                 35.   Attached as Exhibit 34 is a true and correct copy of Carter
                      16 Bryant's Employment Application, dated January 4, 1999.
                      17                 36.   Attached as Exhibit 35 is a true and correct copy of the news
                      18 article about "Teen Skipper."
                      19                 37.   Attached as Exhibit 36 is a true and correct copy of Carter
                     20 Bryant's cover letter to Hasbro, dated July 14, 1998.
                     21                  38.   Attached as Exhibit 37 is a true and correct copy of Carter
                     22 Bryant's resume.
                     23                  39.   Attached as Exhibit 38 is a true and correct copy of Carter
                     24 Biyant's cover letter to Leggett & Platt, Inc., dated May 27, 1998.
                     25               40.      Attached as Exhibit 39 is a true and correct copy of excerpts
                     26 from the Deposition Transcript of Richard Irmen, dated September 28, 2007.
                     27               41.      Attached as Exhibit 40 is a true and correct copy of the Pen-Tab
                     28 'Spiral Notebook marked as Exhibit 1155 in this action.
07209/2^7^t6214. I                                                   _j_                 Case No. CV 04-9049 SGL (RNB^}
                                                                    [GOItR>;C7'BD^ DEGLARA"PION OF M1CHA1✓ L T. ZELLER
                     Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 6 of 13 Page ID
                                                      #:46174



                       1                42.   Attached as Exhibit 41 is a true and correct copy of the collection
                       2 of drawings Bates-numbered BRYANT 00222-34, marked as Exhibit 3 in this
                       3 ^ action.
                       4                43.   Attached as Exhibit 42 is a true and correct copy of excerpts
                       S from the Deposition Transcript of Edmond Lee, Vol. 1, dated October 4, 2007.
                       6               44.    Attached as Exhibit 43 is a true and correct copy of the collection
                       7 of documents referencing Kami GilImour's Confidentiality and Inventions
                       8 Agreement with MGA, Bates-numbered MGA 0886848-51.
                       9               45.    Attached as Exhibit 44 is a true and correct copy of MGA's offer
                      10 letter and employment terms to Paula Garcia, Bates-numbered MGA 0876578-85
                      11   and marked as Exhibit 1117 in this action.
                     12                46.    Attached as Exhibit 45 is a true and correct copy of excerpts
                     13 from the Deposition Transcript of Paula Garcia, Vol. 4, dated October 1 Q, 2007.
                     14                47.    Attached as Exhibit 46 is a true and correct copy of excerpts
                     15 from the Deposition Transcript of Victoria O`Connor, dated December 6, 2004.
                     16                48.    Attached as Exhibit 47 is a true and correct copy of the facsimile
                     17 from Carter Bryant to Universal Commerce Corp., Bates-numbered BRYANT
                     18 01200-03.
                     19                49.    Attached as Exhibit 48 is a true and correct copy of the October
                     20    12, 2000 e-mail from Liz Hogan to Paula Treantafelles and Carter Bryant, Bates-
                     21    numbered SL OOOO I .
                     22                50.    Attached as Exhibit 49 is a true and correct copy of the October
                     23    14, 200 e-mail from Liz Hogan to Paula Treantafelles, Bates-numbered SL 00005-7.
                     24                S 1.   Attached as Exhibit 50 is a true and correct copy of excerpts
                     25 ^ frorn the Deposition Transcript of Steven Linker, dated September 13, 2006.
                     26                S2.    Attached as Exhibit 51 is a true and correct copy of excerpts
                     27 from the Deposition Transcript of Jill Nordquist, dated July 31, 2007.
                     28

u^-'^`^^'^-^^'^^ ^                                                   _(^_             Case No. CV 04-9049 SGL (RN6^}
                                                                    [CORRECTED] DECLARATION OF MICHAEL T. ZELLEK
                     Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 7 of 13 Page ID
                                                      #:46175



                          1               53.   Attached as Exhibit 52 is a true and correct copy of excerpts
                       2 'from the Deposition Transcripts of Rachel Harris, Vol. 1, dated February 26, 2008.
                       3                  54.   Attached as Exhibit S3 is a true and correct copy of the Business
                       4 I Week article discussing Mattel and Bratz.
                       5                  S5.   Attached as Exhibit 54 is a true and correct copy of the San
                       6 Fernando Valley Business Journal article discussing Isaac Larian.
                       7                  56.   Attached as Exhibit 55 is a true and correct copy of excerpts
                       8 from the Deposition Transcript of Ramona Prince, dated December 21, 2004.
                       9                  57.   Attached as Exhibit 56 is a true and correct copy of excerpts
                      10 from the Deposition Transcript of Thomas Bryant, dated September 26, 2007.
                      I1                  58.   Attached as Exhibit 57 is a true and correct copy of excerpts
                      i21 from the Deposition Transcript of Lissa S. Freed, dated May 3, 2007.
                      13                  59.   Attached as Exhibit 5$ is a true and correct copy of excerpts
                     14 from the Deposition Transcript of Andreas Koch, dated February 1 S, 200$.
                     15                   60.   Attached as Exhibit 59 is a true and correct copy of excerpts
                     16 from the Larian y. Larian Arbitration Transcript, Volume 2, dated November 17,
                     17 12005.
                     1$                   61.   Attached as Exhibit 60 is a true and correct copy of excerpts
                     19 from the Deposition Transcript of Ivy Ross, dated January 17, 200$.
                     20                   62.   Attached as Exhibit 61 is a true and correct copy of excerpts
                     21       from the Deposition Transcript of Richard De Anda, dated December 19, 2007.
                     22                   63.   Attached as Exhibit 62 is a true and correct copy of excerpts
                     23 'from the Deposition Kathleen Simpson-Taylor, dated February 23, 2008.
                     24                   64.   Attached as Exhibit 63 is a true and correct copy of the letter
                     2S Bates-numbered M 0074401 and marked as Exhibit 1193 in this action.
                     26                   65.   Attached as Exhibit 64 is a true and correct copy of excerpts
                     27 from the Deposition Transcript of Robert Eckert, dated January 28, 2008.
                     28

07,{'^^-^^^''-j^ ^                                                     _']_             Case No. CV 04-9049 sGL (RNBx)
                                                                      ^CURRECTEDj DECLARATION OF MICHAEL T. ZGLLER
                    Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 8 of 13 Page ID
                                                     #:46176



                         1                 66.   Attached as Exhibit 65 is a true and correct copy of excerpts
                      2 from the Deposition Transcript of-Alan Kaye, Volume 1, dated December 10, 2004.
                      3                    67.   Attached as Exhibit 66 is a true and correct copy of excerpts
                      4 from the Deposition Transcript of Anna Rhee, dated February 3, 2005.
                      5                    68.   Attached as Exhibit 67 is a true and correct copy of excerpts
                      6 from the Deposition Transcript of Paula Garcia, Volume 1, dated May 24, 2007.
                      7                   69.    Attached as Exhibit 68 is a true and correct copy of excerpts
                      8 from the Deposition Transcript of Paula Garcia, Volume 2, dated May 25, 2007.
                      9                   70.    Attached as Exhibit 69 is a true and correct copy of MGA's
                     10 Notice of Withdrawal of Unclean Hands Affirmative Defense as it Pertains to Phase
                     11 ^ 1, dated February 15, 2008.
                     12                   71.    Attached as Exhibit 70 is a true and correct copy of the Court's
                    13       Scheduling Order, dated February 21, 2007.
                    14                    72.    Attached as Exhibit 71 is a true and correct copy of excerpts
                    15       from the Deposition Transcript of Nana Ashong, dated January 28, 2008.
                    16                    73.    Attached as Exhibit 72 is a true and correct copy of a collection
                    17       of invoices from Anna Rhee to MGA, Bates numbered AR 0001-AR 0058, marked
                    18       as Exhibit 201 in this action.
                    19                    74.    Attached as Exhibit 73 is a true and correct copy of Bryant's
                    20 August 31, 2000 invoice for Prayer Angels, MGA's corresponding purchase order,

                    21       and MGA's corresponding requisition, Bates-numbered MGA 001294-96.
                    22                    75.    Attached as Exhibit 74 is a true and correct copy of excerpts
                    23       from the Deposition Transcript of Anne Wang, dated January 28, 200$.
                    24                    76.    Attached as Exhibit 75 is a true and correct copy of excerpts
                    2S       from the Deposition Transcript of David Rosenbaum, dated January 25, 2008.
                    26                    77.    Attached as Exhibit 76 is a true and correct copy of a Gentle
                    27       Giant Studios, Inc. invoice to Margaret Leahy regarding sculpting and molding,
                    28       dated October 11, 2000.

^^^-'^9^-a^G21^ ^                                                                        Case No. CV 04-9Q49 SGL (RNB^)
                                                                      ^COREtECTED] DECLATZATION Of MICHAEL T. ZELLER
                    Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 9 of 13 Page ID
                                                     #:46177



                      1                78.   Attached as Exhibit 77 is a true and correct copy of an e-mail
                      2 ^^ chain dated October 10, 2000, Bates numbered MGA 004717.
                      3                79.   Attached as Exhibit 78 is a true and correct copy of excerpts
                      4 from the Deposition Transcript ofPaula Garcia, Volume 3, dated October 9, 2007.
                      5                80.   Attached as Exhibit 79 is a true and correct copy of Veronica
                      6 Marlow`s invoices for work on Bratz for "9/29100 to 10/20/00", Bates numbered
                      7 IIMGA 0072X61-167.
                      8                81.   Attached as Exhibit 80 is a true and correct copy of Bryant's
                      9 actual expense report, receipts, and MGA's payment to Bryant for his Bratz
                     10 expenses from 9130100 to 10111100, Bates numbered MGA 3786749-60.
                     11                82.   Attached as Exhibit 81 is a true and correct copy of excerpts
                     12 from the Deposition Transcript of Isaac Larian, Volume 1, dated July 18, 2006.
                     13                83.   Attached as Exhibit 82 is a true and correct copy of excerpts
                     14 from Carter Bryant's Supplemental and Amended Responses to Mattel, Int.'s Third
                     15 Set of Requests far Admission to Carter Bryant.
                    16                84.    Attached as Exhibit 83 is a true and correct copy of excerpts
                    17 from the Deposition Transcript of Joni Pratte, dated June 1, 2007.
                    18                85.    Attached as Exhibit 84 is a true and correct copy of excerpts
                    19 from the Deposition Transcript of Kislap Ongchangco, dated April 24, 2007.
                    20                86.    Attached as Exhibit 85 is a true and correct copy of excerpts
                    21    from the Deposition Transcript of Robert Simoneau, dated January 28, 2008.
                    22                $7.    Attached as Exhibit 86 is a true and correct copy of a collection

                    23 of documents that has been marked as Exhibit 1195 in this action.
                    24                88.    Attached as Exhibit 87 is a true and correct copy of excerpts

                    25    from Mattel, Inc.'s Supplemental Response to MGA's First Set of Interrogatories,
                    26 dated December 7, 2007.
                    27
                    2$
oz?a^iz-^-^^z^a.^                                                  _C^_             Case No. CV 04-90=I9 sGL {R_NI3^)
                                                                  1CORRECTED] DECLARATION OF MICI-3AEL T. ZELLER
                     Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 10 of 13 Page ID
                                                       #:46178



                        1               89.    Attached as Exhibit 88 is a true and correct copy of a collection
                       2 of drawings Bates numbered MGA 000455-MGA 000464 , and marked as Exhibit 8
                       3 in this action.
                       4                90.    Attached as Exhibit 89 is a true and correct copy of a collection
                       5 of drawings Bates numbered MGA 000465-MGA 000481, and marked as Exhibit 9
                       6 in this action.
                       7                91.    Attached as Exhibit 90 is a true and correct copy of a collection
                       8 of documents that have been marked as Exhibit 60 in this action.
                       9                92.    Attached as Exhibit 91 is a true and correct copy of excerpts
                      10 from the Deposition Transcript of Liiy Martinez, dated May 20, 2005.
                      11^               93.    Attached as Exhibit 92 is a true and correct copy of the Affidavit
                      12 of Isaac Larian in MGA v. Metson, Bates numbered MGA 0868039-91.
                      13                94.    Attached as Exhibit 93 is a true and correct copy of excerpts
                      14 I from the Deposition Transcript of Spencer Woodman , dated October 9, 2007.
                      15                95.    Attached as Exhibit 94 is a true and correct copy of the Reuters
                      16 article discussing Bratz.
                      17                96.    Attached as Exhibit 95 is a true and correct copy of an e-mail
                      18 from Isaac Larian instructing MGA personnel , dated March 12, 2002, Bates
                      19 numbered MGA 3801819-22.
                      20                97.    Attached as Exhibit 96 is a true and correct copy of an e-mail
                      21    from Isaac Larian to Dee Dee Valencia, dated February 6, 2003, Bates numbered
                      22 MGA 3801558-9.
                      23                98.    Attached as Exhibit 97 is a true and correct copy of a letter from
                      24 B. Dylan Proctor to Diana Torres , dated July 19, 2007.
                     25                 99.    Attached as Exhibit 98 is a true and correct copy of a letter from
                     26 Diana Torres to B. Dylan Proctor , dated July 25, 2007.
                     27                 100.   Attached as Exhibit 99 is^a true and con-ect copy of a letter from

                     28 B. Dylan Proctor to William Charl•on, dated August I, 2007.
o^^ua1?aa- 62^-^.^                                                   .. ^ (}_          Case No. CV 04 -9049 SGL (RNBx)
                                                                     [CORRECTEDI DECLARATION OF MICI^AEL T. ZELLER
                   Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 11 of 13 Page ID
                                                     #:46179



                         1                101.. Attached as Exhibit 100 is a true and correct copy of an e-mail
                     2 from Richard De Anda to Alan Kaye, Bates numbered M 0074400, which has been
                     3 marked Exhibit 1194 in this action.
                     4                    102. Attached as Exhibit 101 is a true and correct copy of Attachment
                     5 5 to Matters Conflict of Interest Questionnaire, signed by Carter Bryant, dated
                     6 November 6, 1995, marked as Exhibit 24 in this action.
                     7                    103. Attached as Exhibit 102 is a true and correct copy of excerpts
                     8 from Carter Bryant's Responses to Mattel, inc.'s Fifth Set of Requests for
                     9 Admission.
                    10                    104.   Attached as Exhibit 103 is a true and correct copy of the Witness
                    11       Interview of Isabel Ana Cabrera, dated January 2, 2008.
                    12:                  105. Attached as Exhibit 104 is a true and correct copy of the Witness
                    13 Interview of Beatriz Morales, dated January 14, 200$.
                    14                   106. Attached as Exhibit 105 is a true and correct copy of the Court's
                   ^15 Order Granting Motion to Dismiss, dated July 17, 2006.
                    16                   107. Attached as Exhibit 106 is a true and correct copy of the Court's
                    17 Minute Order Re Consolidation, dated June 19, 2006.
                    18                   108. Attached as Exhibit 107 is a true and correct copy of excerpts
                    19 from the January 8, 2007 Hearing Transcript.
                    20                   109. Attached as Exhibit 10$ is a true and correct copy of Mattel's
                    21       Second Amended Answer and Counterclaims in Case No. OS-2727, dated July 12,
                    22 2007.
                   23                    110. Attached as Exhibit 109 is a true and correct copy of excerpts
                   24 from MGA Entertainment, Inc.'s Third Supplemental Responses to Mattel, Int.'s
                   25 Amended Fourth Set of Interrogatories.
                   26                    111. Attached as Exhibit 110 is a true and correct copy of excerpts
                   27 from Isaac Larian's Third Supplemental Responses to Mattel, Int.'s Amended Fourth
                   78 Set of Interrogatories.

^^,°^^=^^^'^^+ ^                                                      _ ll _            Case No. CV 04-909 SGL (RN[3x)
                                                                      [CORRECTE©] DECLARATION OF MICHAEL T. ZELLER
Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 12 of 13 Page ID
                                  #:46180



      1                 112. Attached as Exhibit 111 is a true and correct copy of the Court's
   2 Minute Order re: Discovery Stay, dated May 20, 2005.
   3                    113, Attached as Exhibit 112 is a true and correct copy of the Court's
  4 ^ Minute Order re: Vacating Discovery Stay, dated May 16, 2006.
  S                    114. Attached as Exhibit 113 is a true and correct copy of MGA
  6 ^ Entertainment, Inc.'s Motion for Terminating Sanctions, dated July 23, 2007.
  7                    115. Attached as Exhibit 114 is a true and correct copy of excerpts
          f from the Deposition Transcript of Adrienne Fontanella, dated January 16, 200$.
  g                    i 16. Attached as Exhibit 115 is a true and correct copy of the
 1a Statement of Claim Filed in the High Court of the Hong Kong Special
 11 ^ Administrative Region on October 16, 2003 in the Matter Between MGA
 12 Entertainment, Inc. v. Uni-Fortune Toys Industrial Limited; Fu Wei Toys Company,
 13 ^ Limited, Case No. HCA 385612003.
 14                    117. Attached as Exhibit 116 is a true and correct copy of the Expert
 15 ^ Report of Robert Tonner, dated February 11, 2008.
 16                    118. Attached as Exhibit 117 is a true and correct copy of documents
 I7 Bates-numbered MGA HK 0011155- 56 and marked as Exhibit 1105 in this action.
 18                    119. Attached as Exhibit 118 is a true and correct copy of a Wall
 19 ^ Street Journal article, title "Battle of the Big Heads," by Maureen Tkacik, dated July
 20       18, 2003.
 21                    120. Attached as Exhibit 119 is a true and correct copy of a facsimile
 22 'sent from Lucy Arant to Paula Treantafelles , dated December 7, 2000.
 23                    12I . Attached as Exhibit 120 is a true and correct copy of excerpts
 24 from the marked exhibit referred to in the Affidavit of Raymond David Biack, filed
 25 in the High Court of the Hong Kong Special Administrative Region.
 26                    122. Attached as Exhibit 121 is a true and coiTect copy of an e-mail
 27 message sent from Nana Ashong to Victoria O'Connor, Paula Treantafelles and
 28

                                                  _ ^ ^_            Case No. CV 04-9049 SGL {RNB.r•)
                                                  [CORRECTED] DECLARATION Of MECHAEL T. ZELLER
                    Case 2:04-cv-09049-DOC-RNB Document 2823-4 Filed 03/26/08 Page 13 of 13 Page ID
                                                      #:46181



                          1 Martin Hitch, copied to Jackie Bielke, dated September 6, 2001, which has been
                       2 marked as Exhibit 551 in this action.
                       3                 123. Attached as Exhibit 122 is a true and correct copy of the
                       4 Stipulation and Order Permitting MGA to Intervene as a Party to this Action, dated
                       5 December 3, 2004.
                       6                 124. Attached as Exhibit 123 is a true and correct copy of MGA's
                       7 Answer in Intervention in Case No. 04-9059, dated December 3, 2004.
                       S                 125.   Attached as Exhibit 1.24 is a true and correct copy of Bryant's
                       9 Time Record, marked as Exhibit 350 at the Deposition of Arnold Artavia,
                      10                 126. Attached as Exhibit 125 is a true and correct copy of excerpts
                      11    from the Deposition Transcript of Arnold Artavia, dated September 21, 2006.
                     12
                     13                 T declare under penalty of perjury under the laws of the United States of
                     14 America that the foregoing is true and correct.
                     IS                 Executed on March 25, 2008, at Los Angeles, California.
                     16
                     17
                     18                                            Michael T. Zeller
                     19
                     20
                     21
                     22
                     23
                     24
                     2S
                     2G
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o^zoyr-^-^^z^^. i                                                    - ^ ^-             Case No_. CV 04-9049 SGL (RNBx)
                                                                     [CORRL.CTED^ DECLARATION 0^'^MICI-IAEL T. zELLLR
